




















NUMBER 13-04-361-CV

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI - EDINBURG
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CORPUS CHRISTI HOUSING AUTHORITY,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.

MICHELLE L. MILLER, AND ALL OCCUPANTS,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.
____________________________________________________________________

On appeal from the County Court at Law No. 5
of Nueces County, Texas.
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MEMORANDUM OPINION

Before Justices Hinojosa, Yañez, and Garza
Memorandum Opinion Per Curiam

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, CORPUS CHRISTI HOUSING AUTHORITY, perfected an appeal from
a judgment entered by the County Court at Law No. 5 of Nueces County, Texas, in
cause number 02-60242-5.  The clerk’s record was filed on November 8, 2004.  The
reporter’s record was filed on August 20, 2004.   Appellant’s brief was due on
December 8, 2004.  To date, no appellate brief has been received.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When the appellant has failed to file a brief in the time prescribed, the Court
may dismiss the appeal for want of prosecution, unless the appellant reasonably
explains the failure and the appellee is not significantly injured by the appellant’s failure
to timely file a brief.  Tex. R. App. P. 38.8(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On December 29, 2004, notice was given to all parties that this appeal was
subject to dismissal pursuant to Tex. R. App. P. 38.8(a)(1).  Appellant was given ten
days to explain why the cause should not be dismissed for failure to file a brief.  To
date, no response has been received.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court, having examined and fully considered the documents on file,
appellant’s failure to file a proper appellate brief, this Court’s notice, and appellant’s
failure to respond, is of the opinion that the appeal should be dismissed for want of
prosecution.  The appeal is hereby DISMISSED FOR WANT OF PROSECUTION.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM

Memorandum Opinion delivered and filed
this the 10th day of March, 2005




